Case: 4:20-cr-00260-RLW-PLC Doc. #: 48 Filed: 06/14/21 Page: 1 of 2 PageID #: 112

                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                    Plaintiff,                    )
                                                  )
             vs.                                  ) Case No. 4:20-CR-260 RLW/PLC
                                                  )
MICHAEL R. HORSTMANN,                             )
                                                  )
                    Defendant.                    )

                                             ORDER

       This matter is before the court on Defendant’s motion for leave to file out of time and

fourth motion for extension of time to file pretrial motions [Doc. 47].

       For the reasons set out in Defendant’s motion, the Court finds that to deny Defendant’s

request for such additional time would deny counsel for Defendant the reasonable time necessary

for an effective investigation and preparation of pretrial motions, taking into account the exercise

of due diligence, see 18 U.S.C. § 3161(h)(7)(B)(iv), and that the ends of justice served by

granting Defendant’s request for additional time outweigh the best interest of the public and

Defendant in a speedy trial, see 18 U.S.C. § 3161(h)(7)(A).        Therefore, the time granted to

Defendant to investigate and prepare pretrial motions, or a waiver thereof, is excluded from

computation of Defendant’s right to a speedy trial pursuant to 18 U.S.C. § 3161(h)(7)(A).

       Accordingly,

       IT IS HEREBY ORDERED that Defendant’s motion for leave to file out of time and

fourth motion for extension of time to file pretrial motions [Doc. 47] is GRANTED.

       IT IS FURTHER ORDERED that Defendant shall have until July 2, 2021, to file any

pretrial motions or waiver of motions.      The Government shall have until July 16, 2021, to

respond.
Case: 4:20-cr-00260-RLW-PLC Doc. #: 48 Filed: 06/14/21 Page: 2 of 2 PageID #: 113

       IT IS FURTHER ORDERED that the Evidentiary Hearing will be reset at a later time.




                                                PATRICIA L. COHEN
                                                UNITED STATES MAGISTRATE JUDGE

Dated this 14th day of June, 2021




                                            2
